&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-03-31"&gt;
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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/895306683" data-vids="895306683" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Georges Robert Saad&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Forte Development Group, LLC&lt;/span&gt;, a &lt;span class="ldml-role"&gt;Colorado limited liability company&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioners&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Respondents&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Robert K. Hirsch, individually&lt;/span&gt; and as &lt;span class="ldml-role"&gt;trustee&lt;/span&gt;&lt;/span&gt; for the &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Belinda A. Begley&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Robert K. Hirsch Revocable Trust&lt;/span&gt;&lt;/span&gt;; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Belinda A. Begley, individually&lt;/span&gt; and as &lt;span class="ldml-role"&gt;trustee&lt;/span&gt;&lt;/span&gt; for the &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Belinda A. Begley&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Robert K. Hirsch Revocable Trust&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Petitioners&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 20SC846&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;August 16, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="444" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="444" data-sentence-id="461" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_461"&gt;&lt;span class="ldml-cite"&gt;Case No. 19CA361&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="501" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="501" data-sentence-id="517" class="ldml-sentence"&gt;Petition
 and &lt;span class="ldml-entity"&gt;Cross-Petition for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
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